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          UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
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          UNITED STATES OF AMERICA

                                       -v-                                                                                              20-cr-188 (JSR)

          HAMID ("RAY") AKRAVAN AND RUBEN WEIGAND,:

                                     Defendants .
        .,. ..........•..... :......... :."":.": ....":~':...:":".. -~ ........... :.~.... ::.........\ .... :-............... x




                                                                       I. HAMID ("RAY") AKRAVAN

          On the charge of conspiracy to commit federal bank fraud, we the jury find Hamid ("Ray") Akhavan:


                                       Guilty           /                         Not Guilty _ _




                                                                                 II. RUBEN WEIGAND

          On the charge of conspiracy to commit federal bank fraud, we the jury find Ruben Weigand:

                                       Guilty         L                               NotGuilty _ _
